     Case 5:20-cv-01144-JGB-SP Document 51 Filed 03/15/22 Page 1 of 4 Page ID #:342




 1    ADAM L. MIEDERHOFF (CA State Bar No. 261913)
 2
      Deputy County Counsel
      TOM BUNTON (CA State Bar No. 193560)
 3    County Counsel
 4
      385 North Arrowhead Avenue, Fourth Floor
      San Bernardino, California 92415-0140
 5    Telephone: (909) 387-5446
 6    Facsimile: (909) 387-4069
      E-Mail: adam.miederhoff@cc.sbcounty.gov
 7

 8    Attorneys for Defendants, San Bernardino County, Gary Esmond, and Donny Mahoney

 9

10                             UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
     PEPE'S, INC., a California corporation     Case No. 5:20-cv-02506-JGB-SP
13   dba Pepe's Towing
14                     Plaintiff,               STIPULATION TO CONTINUE TRIAL
                                                AND RELATED DEADLINES
15                        v.
16                                              Current Dates
     CITY OF RANCHO CUCAMONGA,                  FPTC: August 8, 2022
17   charter city organized under the laws of
     the State of California; SAN               Trial Date: August 23, 2022
18   BERNARDINO COUNTY SHERIFF'S
     DEPARTMENT, a division of the County       Proposed Dates
19   of San Bernardino; COUNTY OF SAN
     BERNARDINO, a public entity; GARY          FPTC: November 7, 2022
20   ESMOND, an individual; DONNY               Trial Date: November 29, 2022
     MAHONEY, an individual; JOHN
21   GILLISON, an individual; JAMES
     MARKMAN, an individual; L. DENNIS
22   MICHAEL, an individual; LYNNE B.           Honorable District Court Judge
     KENNEDY, an individual; RYAN A.            Jesus G. Bernal
23   HUTCHISON, an individual; KRISTINE
     D. SCOTT, an individual; and SAM
24   SPAGNOLO, an individual; and DOES 1
     through 10, inclusive,                     Honorable Magistrate Judge
25
                       Defendants.              Sheri Pym
26
27

28

                                                1
                       STIPULATION TO CONTINUE TRIAL AND RELATED DEADLINES
     Case 5:20-cv-01144-JGB-SP Document 51 Filed 03/15/22 Page 2 of 4 Page ID #:343




 1            TO THE HONORABLE JESUS G. BERNAL, UNITED STATES DISTRICT
 2    COURT JUDGE:
 3            The parties, through their respective counsel of record, have met and conferred and
 4    have stipulated to the following:
 5            WHEREAS, this lawsuit involves claims of Federal civil rights violations relating
 6    to the termination of a contract for Plaintiff PEPE'S, INC., a California corporation dba
 7    Pepe's Towing, to provide tow services in the City of Rancho Cucamonga;
 8            WHEREAS, Plaintiff filed their original complaint on December 2, 2020, and
 9    served the complaint and summons shortly thereafter;
10            WHEREAS, after an extension of time, Defendants San Bernardino County, Gary
11    Esmond, and Donny Mahoney, filed an Answer on January 27, 2021;
12            WHEREAS, after an extension of time, Defendants City of Rancho Cucamonga,
13    John Gillison, James Markman, Dennis Michael, Lynne Kennedy, Ryan A. Hutchinson,
14    and Sam Spagnolo, filed an Answer on January 27, 2021;
15            WHEREAS, following all appearances in the matter, and after a Rule 26 joint report
16    was submitted, the parties began exchanging initial disclosures and written discovery;
17            WHEREAS, on August 24, 2021, this Court issued a Civil Scheduling Order, setting
18    this case for jury trial on August 23, 2022, and, among other dates, a discovery cut-off of
19    April 11, 2022, a mediation deadline of May 9, 2022, and a motion cut-off of June 27,
20    2022;
21            WHEREAS, given the issues of the case, which involve city towing contracts that
22    date back to 2017, including tow assignments and tow records for those years, the
23    document production has taken months to complete and continues to this day;
24            WHEREAS, the parties also began coordinating depositions, but the timing of the
25    depositions has been delayed due to the efforts to sort through and identify the voluminous
26    documents applicable for production, and the additional records being sought;
27            WHEREAS, the parties have multiple depositions to complete before the fast-
28    approaching deadlines, and considering the additional documents to produce and the
                                                   2
                         STIPULATION TO CONTINUE TRIAL AND RELATED DEADLINES
     Case 5:20-cv-01144-JGB-SP Document 51 Filed 03/15/22 Page 3 of 4 Page ID #:344




 1    multiple depositions to complete, the parties are not able to complete the depositions
 2    before the discovery and related deadlines;
 3          WHEREAS, the parties also seek to ensure mediation is a meaningful effort with
 4    all needed information exchanged amongst the sides;
 5          WHEREAS, in light of the time needed to complete discovery and prepare for
 6    mediation, the parties hereby stipulate and request that this Court continue the trial date,
 7    the final pre-trial conference date, and the related deadlines, including the discovery
 8    deadline, by approximately ninety (90) days;
 9          WHEREAS, the parties propose the following continued dates:
10           Deadline for Initial Designation of Expert Witnesses: June 13, 2022
11           Deadline for Designation of Rebuttal Expert Witnesses: June 27, 2022
12           All Discovery cut-off (including hearing of discovery motions): July 11, 2022
13           Dispositive Motion Hearing Cut-Off: September 26, 2022;
14           Last day to conduct Settlement: Conference: August 8, 2022;
15           Final Pretrial Conference: November 7, 2022, at 11:00 a.m.; and
16           Jury Trial: November 29, 2022, at 8:00 a.m.
17          ////
18          ////
19          ////
20          ////
21          ////
22          ////
23          ////
24          ////
25          ////
26          ////
27          ////
28          ////
                                                    3
                        STIPULATION TO CONTINUE TRIAL AND RELATED DEADLINES
     Case 5:20-cv-01144-JGB-SP Document 51 Filed 03/15/22 Page 4 of 4 Page ID #:345




 1         IT IS SO STIPULATED:
 2

 3    DATED: March 9, 2022               LARSON LLP
 4

 5                                       /s/ R.C. HARLAN
 6
                                         R.C. HARLAN, Esq.
                                         Attorneys for Plaintiff,
 7                                       PEPE'S, INC., a California corporation dba Pepe's
 8                                       Towing

 9
      DATED: March 9, 2022               TOM BUNTON
10                                       County Counsel
11

12                                       /s/ ADAM L. MIEDERHOFF
13
                                         ADAM L. MIEDERHOFF
                                         Deputy County Counsel
14                                       Attorneys for Defendant,
15                                       San Bernardino County, Gary Esmond, and Donny
                                         Mahoney
16

17    DATED: March 9, 2022               WATSON & GERSHON

18
                                         /s/ ROBERT C. CECCON
19
                                         ROBERT C. CECCON, Esq.
20                                       Attorneys for Defendants,
21                                       City of Rancho Cucamonga, John Gillison, James
                                         Markman, Dennis Michael, Lynne Kennedy,
22                                       Ryan A. Hutchinson, and Sam Spagnolo
23

24

25

26
27

28

                                               4
                      STIPULATION TO CONTINUE TRIAL AND RELATED DEADLINES
